                            Case 4:16-cv-01956 Document 1-4 Filed on 07/01/16 in TXSD Page 1 of 1

JS 44 (Rev. 07/16)                                                             CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FOR/eL)

I. (a) PLAINTIFFS                                                                                                   I)] S 4I I7al 1l

Baker Hughes Oilfield Operations, Inc.                                                                             Smith International, Inc.

      (b)   County of Residence of First Listed Plaintiff                                                            County of Residence of First Listed Defendant
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                    NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

      (c)   Attorneys    (Firm Name Address, and Telephone Number)                                                   Attorneys       (If Known)
Christopher A. Shield, Bracewell LLP, 711 Louisiana, Suite 2300,
Houston, TX 77002, 713-223-2300


IL BASIS OF JURISDICTION (Place an '91" in One Box Only)                                                 III. CITIZENSHIP OF PRINCIPAL PARTIES                                     (Place an "X" in One BoxforPlointff
                                                                                                                (For Diversity Cases Only                                            and One Box for Defendant
El 1 U.S. Government                    Of 3 Federal Question                                                                                  PTF DEF                                                 PT!!       DEF
            Plaintiff                              (U.S. Government Not a Party)                           Citizen of This State                El I      El I Incorporated or Principal Place          El 4      El 4
                                                                                                                                                                   of Business In This State

El 2 U.S. Government                    El 4 Diversity                                                     Citizen of Another State             02        0 2 Incorporated and Principal Place          El 5      El 5
            Defendant                              (Indicate Citizenship of Parties in Item III)                                                                   of Business In Another State

                                                                                                           Citizen or Subject of a              03        0 3 Foreign Nation                            El 6      06

IV. NATIJRF. OF SI TIT nto                         "Y"i,,()asR,u'(h,lsI

T           CONTRACT                                                  TORTS                        ...       :])pflJfp5f                                              1 1'ICY
                                                                                                                                                                          1                  OTHERSTA'IIJTES
El 110 Insurance                          PERSONAL INJURY                     PERSONAL INJURY              El 625 Drug Related Seizure               El 422 Appeal 28 USC 158           El 375 False Claims Act
El 120 Marine                          El 310 Airplane                   El     Personal Injury
                                                                              365                                 of Property 21 USC 881             El 423 Withdrawal               El 376 Qui Tam (31 USC
El 130 Miller Act                      El 315 Airplane Product                   Product Liability         El 690 Other                                     28 USC 157                       3729(a))
O 140 Negotiable Instrument                    Liability                 El 367 Health Care!                                                                                         El 400 State Reapportionment
El 150 Recovery of Overpayment         El 320 Assault, Libel &                  Pharmaceutical                                                          PROPERTY RIGHTS              El 410 Antitrust
       & Enforcement of Judgment               Slander                          Personal Injury                                                      0 820 Copyrights                0 430 Banks and Banking
O 151 Medicare Act                     0 330 Federal Employers'                 Product Liability                                                    6 830 Patent                    El 450 Commerce
O 152 Recovery of Defaulted                    Liability                 0 368 Asbestos Personal                                                     0 840 Trademark                 El 460 Deportation
       Student Loans                   El 340 Marine                             Injury Product                                                                                      El 470 Racketeer Influenced and
       (Excludes Veterans)             El 345 Marine Product                    Liability                               LABOR                           SOCIAL SECURITY                     Corrupt Organizations
El 153 Recovery of Overpayment                 Liability                  PERSONAL PROPERTY El 710 Fair Labor Standards                              0 861 HIA (1395ff)              El 480 Consumer Credit
       of Veteran's Benefits           0 350 Motor Vehicle               El 370 Other Fraud          Act                                             0 862 Black Lung (923)          0 490 Cable/Sat TV
0 160 Stockholders' Suits              0 355 Motor Vehicle               0 371 Truth in Lending
                                                                                             El 720 Labor/Management                                 0 863 DIWC!DIWW (405(g))        El 850 Securities/Commodities!
El 190 Other Contract                         Product Liability          El 380 Other Personal       Relations                                       0 864 SSID Title XVI                    Exchange
El 195 Contract Product Liability      El 360 Other Personal                    Property Damage
                                                                                             0 740 Railway Labor Act                                 0 865 RSI (405(g))              0 890 Other Statutory Actions
0 196 Franchise                               Injury                     El 385 Property Damage
                                                                                             0 751 Family and Medical                                                                0 891 Agricultural Acts
                                       0 362 Personal Injury -                  Product Liability    Leave Act                                                                       El 893 Environmental Matters
                                              Medical Malpractice                           El 790 Other Labor Litigation                                                           El 895 Freedom of Information
IJREALPROPERTY                             CIVIL RIG HI '           PRISONER Ei 11111 IONS 1] 791 Employee Retirement              FFDEKAL TAX SUITS                                         Act
O 210 Land Condemnation               El 440 Other Civil Rights       Habeas Corpus:                Income Security Act        0 870 Taxes (U.S. Plaintiff                           El 896 Arbitration
0 220 Foreclosure                     0 441 Voting                 0 463 Alien Detainee                                                or Defendant)                                 0 899 Administrative Procedure
0 230 Rent Lease & Ejectment          El 442 Employment            El 510 Motions to Vacate                                    El 871 IRS—Third Party                                       Act/Review or Appeal of
El 240 Torts to Land                  0 443 Housing!                      Sentence                                                     26 USC 7609                                          Agency Decision
El 245 Tort Product Liability                Accommodations        0 530 General                                                                                                     El 950 Constitutionality of
0 290 All Other Real Property         0 445 Amer. w!Disabilities - 0 535 Death Penalty               IMMIGRATION                                                                            State Statutes
                                             Employment               Other:                 El 462 Naturalization Application
                                      0 446 Amer. w!Diaabilities - 0 540 Mandamus & Other 0 465 Other Immigration
                                             Other                 0 550 Civil Rights               Actions
                                      El 448 Education             0 555 Prison Condition
                                                                   El 560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN               (Place an "in One Box Only)
    1 Original               0 2 Removed from                03         Remanded from               0 4 Reinstated or 0              5   Transferred from        Cl 6 Multidistrict              0 8 Multidistrict
       Proceeding                 State Court                           Appellate Court                    Reopened                      Another District                Litigation -                 Litigation -
                                                                                                                                         (specify)                       Transfer                     Direct File
                                           Cite the U. S. Civil Statute under which you are tiling            ('Do not cite jurisdictional statutes unless diversity):
                        35 USC Section 1 et seq.
VI.     CAUSE OF ACTION Brief description of cause:
                         patent infringement
VII. REQUESTED IN                          13    CHECK IF THIS IS A CLASS ACTION                              DEMANDS                                         CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER RULE 23, F.RCv.P.                                       To be determined                               JURY DEMAND:                  X Yes       0 No
VIII. RELATED CASE(S)
                                                (See instructions):
      IF ANY                                                            JUDGE                                                                          DOCKET NUMBER
DATE                                                                          SIGNATURE OF ATTORNEY OF RECORD
                                                                          Is! Christopher A. Shield
FOR OFFICE USE ONLY
    RECEIPT #                      AMOUNT                                           APPLYING ISP                                     JUDGE                               MAO. JUDGE
